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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 18-150(1) (DWF/HB)


 UNITED STATES OF AMERICA,                )
                                          )
                      Plaintiff,          )
                                          )
                                                   NOTICE OF INTENT TO USE
               v.                         )
                                                   IMPEACHMENT EVIDENCE
                                          )
 MICHAEL HARI,                            )
                                          )
                      Defendant.          )


       Michael Hari, by and through his counsel, hereby submits notice that Counsel

intends to impeach the witnesses based upon portions of the Plea Agreements of Joe

Morris, (ECF 44), and Michael McWhorter, (ECF 43), (“Cooperator-Witnesses”) as

evidence of their bias pursuant to FRE 607; accord U.S. v. Abel, 469 U.S. 45, 52 (1984).

Specifically, Counsel intends to ask each of these Cooperator-Witnesses about the

following.

       1.     Pursuant to the plea agreements, the Cooperator-Witnesses pled guilty to a

number of offenses in this Court and in the Central District of Illinois, including:

              (a).   Using a destructive device during the commission of a crime of

              violence, charged as Count 4 of Minnesota indictment, which is said to

              carry a 30-year mandatory minimum term of imprisonment; and

              (b).   Attempted arson, charged as Count 3 of the Illinois indictment,

              which is said to carry a 5-year mandatory minimum term of imprisonment.
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(ECF 43 & 44 at 9-12).

       2.     According to the plea agreements, the above counts of convictions call for

mandatory consecutive imposition, meaning a mandatory minimum term of

imprisonment amounting to 35 years in total. (ECF 43 & 44 at 16).

       3.     The plea agreements state the maximum penalty to be imposed based upon

the counts of conviction would be a life term of imprisonment. (ECF 43 & 44 at 12).

       4.     The Eighth Circuit Court of Appeals has said the “primary purpose” of the

Confrontation Clause, U.S. Const. Am. 6, is to “guarantee the opportunity for effective

cross-examination, particularly with respect to a witness’s potential bias.” United States

v. Wright, 866 F.3d 899, 906 (8th Cir. 2017). For example, “the accused should be able to

contrast the original punishment faced by the witness with the more lenient punishment

contemplated by the plea agreement.” Id.

       5.     Here, the Cooperator-Witnesses face a life term of imprisonment and a

mandatory minimum of 35 years under the original charges. Under the terms of the plea

agreement, that severe penalty could be dramatically reduced if their testimony pleases

the government and the government files a motion allowing the Court to sentence below

the mandatory minimum. See, e.g., 18 U.S.C. § 3553(e).

       6.     This is classic and compelling evidence of bias on the part of the

Cooperator-Witnesses. Testimony that pleases the government is their way out of a

severe predicament. The incentives to slant testimony against Mr. Hari and in favor of the

government’s theory could scarcely be higher.



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      7.     There needn’t be a concern about communicating the penalty faced by Mr.

Hari in the present case. In the case of the Cooperator-Witnesses, the 35-year mandatory

minimum term is derived from a combination of Minnesota charges and Illinois charges.

Here, Mr. Hari is only being tried on Minnesota charges. Moreover, there is no reason to

communicate that the Minnesota charges which generate the Cooperator-Witness 30-year

mandatory minimum are the same as those at issue in the present case.

      8.     In sum, under the Confrontation Clause and Rules of Evidence, Mr. Hari

must be permitted to impeach the Cooperator-Witnesses with the relevant terms of their

plea agreements, and which evince their high degree of bias against Mr. Hari.


 Dated: November 11, 2020                Respectfully submitted,

                                         s/ Shannon Elkins

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